      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 1 of 34



 1   WILKINSON WALSH + ESKOVITZ LLP              ARNOLD & PORTER KAYE SCHOLER
     Brian L. Stekloff (pro hac vice)            LLP
 2   (bstekloff@wilkinsonwalsh.com)              Pamela Yates (CA Bar No. 137440)
 3   Rakesh Kilaru (pro hac vice)                (Pamela.Yates@arnoldporter.com)
     (rkilaru@wilkinsonwalsh.com)                777 South Figueroa St., 44th Floor
 4   2001 M St. NW                               Los Angeles, CA 90017
     10th Floor                                  Tel: 213-243-4178
 5   Washington, DC 20036                        Fax: 213-243-4199
     Tel: 202-847-4030
 6   Fax: 202-847-4005
 7
     HOLLINGSWORTH LLP                           COVINGTON & BURLING LLP
 8   Eric G. Lasker (pro hac vice)               Michael X. Imbroscio (pro hac vice)
     (elasker@hollingsworthllp.com)              (mimbroscio@cov.com)
 9   1350 I St. NW                               One City Center
     Washington, DC 20005                        850 10th St. NW
10
     Tel: 202-898-5843                           Washington, DC 20001
11   Fax: 202-682-1639                           Tel: 202-662-6000

12
     Attorneys for Defendant
13   MONSANTO COMPANY

14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16

17   IN RE: ROUNDUP PRODUCTS                   ) MDL No. 2741
     LIABILITY LITIGATION                      )
18                                             ) Case No. 3:16-md-02741-VC
                                               )
19                                             ) MONSANTO COMPANY’S REPLY IN
     Hardeman v. Monsanto Co., et al.,         ) SUPPORT OF MOTION FOR
20   3:16-cv-0525-VC                           ) SUMMARY JUDGMENT RE: TIER 1
                                               ) PLAINTIFFS ON NON-CAUSATION
21   Stevick v. Monsanto Co., et al.,          ) GROUNDS AND EXCLUSION OF DRS.
     3:16-cv-2341-VC                           ) BENBROOK, SAWYER, AND MILLS
22                                             )
     Gebeyehou v. Monsanto Co., et al.,        )
23   3:16-cv-5813-VC
24

25

26
27
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
28        CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
          Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 2 of 34



 1                                                       TABLE OF CONTENTS
 2                                                                                                                                        Page
     INTRODUCTION ............................................................................................................................. 1
 3
     ARGUMENT .................................................................................................................................... 2
 4

 5   I.        PLAINTIFFS’ WARNINGS CLAIMS ARE EXPRESSLY PREEMPTED. ....................... 2

 6   II.       PLAINTIFFS DO NOT DISPUTE THAT IT IS IMPOSSIBLE FOR
               MONSANTO TO COMPLY WITH BOTH FIFRA AND THEIR TORT
 7             CLAIMS. ............................................................................................................................... 2
 8             A.         Bates Does Not Make Impossibility Preemption Inapplicable to FIFRA. ................ 3
 9             B.         Congressional Intent Is Not Relevant to Impossibility Preemption. ......................... 4
10
               C.         Mensing and Bartlett Apply When a Private Party Cannot Comply with
11                        State Law Without First Obtaining The Approval of a Federal
                          Regulatory Agency. ................................................................................................... 5
12
               D.         Even Under Wyeth’s Clear Evidence Standard Plaintiffs Failed to
13                        Controvert Evidence that EPA Has Consistently Rejected That
                          Glyphosate is Carcinogenic to Humans. ................................................................... 7
14
     III.      PLAINTIFFS HAVE NOT COME FORWARD WITH EVIDENCE THAT IT
15
               WAS “GENERALLY ACCEPTED” IN THE SCIENTIFIC COMMUNITY
16             AT THE TIME OF DISTRIBUTION THAT GLYPHOSATE CAUSES
               CANCER . ............................................................................................................................. 8
17
     IV.       PLAINTIFFS’ PUNITIVE DAMAGE CLAIMS FAIL BECAUSE THEY DID
18             NOT PRODUCE EVIDENCE OF “DESPICABLE” CONDUCT BY
               MONSANTO. ....................................................................................................................... 9
19
               A.         Monsanto Cannot Be Punished For Conduct That Could Not Have
20
                          Caused Plaintiffs’ NHL. .......................................................................................... 10
21
               B.         Monsanto’s Response to Dr. Parry’s Genotoxicity Review Was Not
22                        Improper, Let Alone Despicable. ............................................................................ 11

23             C.         Monsanto’s Involvement with Williams (2000), Williams (2012), and
                          Kier & Kirkland (2013) Was Not Improper, Let Alone Despicable. ...................... 11
24
               D.         Monsanto’s Testing of Surfactants Was Not Improper, Let Alone
25
                          Despicable. .............................................................................................................. 12
26
               E.         Monsanto Reasonably Relied on Worldwide Regulatory Consensus. .................... 12
27
28                                                                           i
           MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
              CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
       Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 3 of 34



 1             F.         Plaintiffs Failed to Produce Evidence Showing Monsanto’s Scientists
                          Directed Roundup Corporate Policy ....................................................................... 13
 2
     V.        GEBEYEHOU’S CLAIMS ARE INDISPUTABLY TIME BARRED. ............................. 13
 3

 4   VI.       REPLY IN SUPPORT OF MOTION TO EXCLUDE DR. CHARLES
               BENBROOK. ...................................................................................................................... 15
 5
               A.         Dr. Benbrook Lacks the Necessary Qualifications. ................................................ 16
 6
               B.         Dr. Benbrook’s Personal “Interpretation” of Monsanto Documents and
 7                        Opinions on Corporate Ethics are Inappropriate Topics for Expert
                          Testimony. ............................................................................................................... 16
 8
               C.         Dr. Benbrook’s Opinions on Monsanto’s Compliance With Legal or
 9
                          Regulatory Duties Usurp the Jury’s Function and Should Be Excluded. ............... 18
10
     VII.      REPLY IN SUPPORT OF MOTION TO EXCLUDE DR. WILLIAM
11             SAWYER ............................................................................................................................ 18

12             A.         The Court Should Not Permit Dr. Sawyer To Testify In the Hardeman
                          and Gebeyehou Cases. ............................................................................................. 18
13
               B.         The Court Should Exclude Dr. Sawyer’s Specific-Cause Opinion As To
14
                          Ms. Stevick. ............................................................................................................. 20
15
               C.         The Court Should Exclude Dr. Sawyer’s Remaining Opinions, Which
16                        Exceed His Expertise or Are Untimely. .................................................................. 23

17   VIII.     REPLY IN SUPPORT OF MOTION TO EXCLUDE MR. JAMES MILLS .................... 24

18   CONCLUSION ............................................................................................................................... 27
19

20

21

22

23

24

25

26
27
28                                                                          ii
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
       Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 4 of 34



 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                     Page(s)
 3                                                                    CASES

 4
     Adams v. United States,
 5     449 F. App’x 653 (9th Cir. 2011) ................................................................................................. 2
 6   Ansagay v. Dow Agrosciences LLC,
       153 F. Supp. 3d 1270 (D. Haw. 2015) .......................................................................................... 3
 7
     Arizona v. United States,
 8
       567 U.S. 387 (2012) .................................................................................................................. 3, 4
 9
     Avila v. Willits Envtl. Remediation Tr.,
10     633 F.3d 828 (9th Cir. 2011) ................................................................................................. 22, 24

11   Bates v. Dow Agrosciences LLC,
       544 U.S. 431 (2005) ...................................................................................................................... 3
12
     Board of Trs. of Leland Stanford Jr. Univ. v. Sullivan,
13
       773 F. Supp. 472 (D.D.C. 1991) ................................................................................................. 11
14
     Buckman Co. v. Plaintiffs’ Legal Comm.,
15     531 U.S. 341 (2001) ...................................................................................................................... 4

16   City of New York v. FedEx Ground Package Sys., Inc.,
       No. 13 Civ. 9173 (ER), 2018 WL 4961455 (S.D.N.Y. Oct. 15, 2018) ....................................... 18
17
     Clark v. Baxter Healthcare Corp.,
18     83 Cal. App. 4th 1048 (2000)...................................................................................................... 15
19
     Dobbs v. Wyeth Pharm.,
20     797 F. Supp. 2d 1264 (W.D. Okla. 2011) ..................................................................................... 8

21   Florida Lime & Avocado Growers, Inc. v. Paul,
       373 U.S. 132 (1963) ...................................................................................................................... 4
22
     Fox v. Ethicon Endo-Surgery, Inc.,
23     35 Cal. 4th 797 (2005)........................................................................................................... 13, 14
24   Geier v. American Honda Motor Co.,
25     529 U.S. 861 (2000) ...................................................................................................................... 5

26   Gray v. Reeves,
       76 Cal. App. 3d 567 (1977) ................................................................................................... 14, 15
27
28                                                                        iii
        MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
           CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
       Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 5 of 34



 1   Gustavsen v. Alcon Labs., Inc.,
       903 F.3d 1 (1st Cir. 2018) ......................................................................................................... 5, 6
 2
     In re Agent Orange Prod. Liab. Litig. MDL No. 381,
 3
        818 F.2d 145 (2d Cir. 1987) ........................................................................................................ 19
 4
     In re Aredia & Zometa Prods. Liab. Litig.,
 5      483 F. App’x 182 (6th Cir. 2012) ............................................................................................... 21

 6   In re Bard IVC Filters Prods. Liab. Litig.,
        No. MDL 15-02641-PHX DGC, 2018 WL 495187 (D. Ariz. Jan. 22, 2018) ............................. 17
 7
     In re Celexa & Lexapro Mktg. & Sales Practices Litig.,
 8      779 F.3d 34 (1st Cir. 2015) ........................................................................................................... 6
 9
     In re Hanford Nuclear Reservation Litig.,
10      292 F.3d 1124 (9th Cir. 2002) ............................................................................................... 19, 20

11   In re Prempro Prods. Liab. Litig.,
        554 F. Supp. 2d 871 (E.D. Ark. 2008), aff’d in relevant part, 586 F.3d 547 (8th Cir. 2009)..... 24
12
     In re Roundup Prods. Liab. Litig.,
13      No. 16-md-02741-VC, 2018 WL 3368534 (N.D. Cal. July 10, 2018) ....................................... 10
14
     In re Seroquel Prods. Liab. Litig.,
15      No. 6:06-md-1769-Orl-22DAB, 2009 WL 3806436 (M.D. Fla. July 20, 2009)......................... 23

16   In re Yasmin & YAZ Mktg., Sales Practices & Prods. Liab. Litig.,
        No. 3:09-md-02100-DRH-PMF, 2011 WL 6732819 (S.D. Ill. Dec. 16, 2011) .......................... 25
17
     Indian Brand Farms, Inc. v. Novartis Crop Prot. Inc.,
18     617 F.3d 207 (3d Cir. 2010) .......................................................................................................... 2
19   Israel Travel Advisory Serv., Inc. v. Israel Identity Tours, Inc.,
20      No. 92 C 2379, 1993 WL 387346 (N.D. Ill. Sept. 23, 1993) ...................................................... 24

21   Jolly v. Eli Lilly & Co.,
       44 Cal. 3d 1103 (1988)................................................................................................................ 13
22
     Kennedy v. Allied Mut. Ins. Co.,
23     952 F.2d 262 (9th Cir. 1991) ....................................................................................................... 14
24   Lukov v. Schindler Elevator Corp.,
       No. 5:11-cv-00201 EJD, 2012 WL 2428251 (N.D. Cal. June 26, 2012) .................................... 18
25

26   Lust ex rel. Lust v. Merrell Dow Pharm., Inc.,
       89 F.3d 594 (9th Cir. 1996) ................................................................................................... 21, 23
27
28                                                                       iv
        MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
           CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
       Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 6 of 34



 1   McClain v. Metabolife Int’l, Inc.,
      401 F.3d 1233 (11th Cir. 2005) ................................................................................................... 21
 2
     Mock v. Michigan Millers Mut. Ins. Co.,
 3
      4 Cal. App. 4th 306 (1992).......................................................................................................... 12
 4
     Mutual Pharm. Co. v. Bartlett,
 5    570 U.S. 472 (2013) .................................................................................................................. 3, 5

 6   Oneok, Inc. v. Learjet, Inc.,
       135 S. Ct. 1591 (2015) .................................................................................................................. 4
 7
     Primiano v. Cook,
 8     598 F.3d 558 (9th Cir. 2010) ....................................................................................................... 20
 9
     Senart v. Mobay Chem. Corp.,
10     597 F. Supp. 502 (D. Minn. 1984) .............................................................................................. 11

11   Seufert v. Merck Sharp & Dohme Corp.,
       187 F. Supp. 3d 1163 (S.D. Cal. 2016) ..................................................................................... 7, 8
12
     Sikkelee v. Precision Airmotive Corp.,
13      907 F.3d 701 (3d Cir. 2018) ...................................................................................................... 5, 6
14
     Soldo v. Sandoz Pharm. Corp.,
15     244 F. Supp. 2d 434 (W.D. Pa. 2003) ......................................................................................... 21

16   State Farm Mut. Auto. Ins. Co. v. Campbell,
       538 U.S. 408 (2003) .............................................................................................................. 10, 12
17
     Therasense, Inc. v. Becton, Dickinson & Co.,
18     No. C 04-02123 WHA, 2008 WL 2037732 (N.D. Cal. May 12, 2008) ................................ 20, 25
19   United States v. Smith,
20     573 F.3d 639 (8th Cir. 2009) ....................................................................................................... 18

21   Weisgram v. Marley Co.,
      528 U.S. 440 (2000) .................................................................................................................... 20
22
     White v. Ford Motor Co.,
23    312 F.3d 998 (9th Cir. 2002) ....................................................................................................... 17
24   Whitlock v. Pepsi Americas,
      527 F. App’x 660 (9th Cir. 2013) ............................................................................................... 20
25

26   Willis v. Buffalo Pumps Inc.,
       No. 12cv744 BTM (DHB), 2014 WL 1028437 (S.D. Cal. Mar. 17, 2014) ................................ 10
27
28                                                                        v
        MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
           CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
       Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 7 of 34



 1   Wyeth v. Levine,
      555 U.S. 555 (2009) ...................................................................................................................... 6
 2
                                                                        RULES
 3

 4
     Fed. R. Civ. P. 56 ............................................................................................................................ 25
 5
     Fed. R. Evid. 702 ............................................................................................................................... 1
 6
                                                                 REGULATIONS
 7

 8
     21 C.F.R. § 314.70(c) ........................................................................................................................ 6
 9
     40 C.F.R. § 168.22 ............................................................................................................................ 3
10
                                                          OTHER AUTHORITIES
11

12
     CACI 1205 ........................................................................................................................................ 8
13
     Pub.L. No 87-781, 76 Stat. 780 (1962) ............................................................................................. 4
14

15

16

17

18

19

20

21

22

23

24

25

26
27
28                                                                           vi
         MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
            CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
       Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 8 of 34



 1                                             INTRODUCTION
 2              Plaintiffs’ Opposition does not meaningfully engage on the merits of Monsanto’s
 3   Summary Judgment Motion. Rather than come forward with substantive responses to Monsanto’s
 4   arguments explaining the deficiencies in their claims and with their experts, Plaintiffs principally
 5   offer bluster. But a careful review of Plaintiffs’ substantive claims and the experts they offer to
 6   support them demonstrates that neither can survive.
 7              With respect to express and impossibility preemption, Plaintiffs concede the two ultimate
 8   points: (a) California’s warnings law is substantively inconsistent with FIFRA’s misbranding
 9   provisions as to foreseeable use, and (b) FIFRA prohibits Monsanto from independently making
10   the label and design changes Plaintiffs seek without first obtaining EPA approval.             Each
11   concession confirms that their claims are preempted. Likewise, Plaintiffs cannot come forward
12   with evidence upon which a jury could find that it was “generally accepted” when Plaintiffs used
13   Roundup that Roundup causes cancer. Nor have they come forward with evidence from which a
14   reasonable jury could find Monsanto acted “despicably” given the uncontroverted regulatory
15   consensus, held to this day, that glyphosate does not cause cancer in humans. Finally, because Mr.
16   Gebeyehou affirmatively asserted that he believed Roundup caused his NHL when he sent an
17   email to his doctor on September 24, 2014, there is no factual dispute and his claim is time barred.
18   Monsanto is entitled to summary judgment on all claims asserted against it by the Tier 1 Plaintiffs.
19              If any of these cases proceed to trial, the opinions of Drs. Benbrook, Sawyer, and Mills
20   should be excluded under Daubert and F.R.E. 702. Dr. Benbrook, an agricultural economist,
21   cannot serve as a narrator of company documents nor instruct the jury on the law and Monsanto’s
22   alleged noncompliance. Dr. Sawyer, a specific causation expert, has no opinions specific to
23   Hardeman and Gebeyehou (indeed, he did not evaluate anything about their cases), and so there is
24   no basis for allowing him to testify in those trials. Further, his opinions as to Stevick are the
25   product of an unreliable methodology that is a “differential diagnosis” in name only. And Dr.
26   Mills’ opinions are not derived from scientific or specialized knowledge nor do they assist the trier
27   of fact.
28                                                      1
        MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
           CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
          Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 9 of 34



 1                                               ARGUMENT
 2   I.        PLAINTIFFS’ WARNINGS CLAIMS ARE EXPRESSLY PREEMPTED.
 3             Plaintiffs argue that even if their warning claims impose requirements in addition to or
 4   different from FIFRA, summary judgment would be inappropriate and, instead, the Court could
 5   cure any “minimal inconsistencies” with a jury instruction. Plaintiffs cite one sentence from the
 6   Supreme Court’s opinion in Bates as well as language from Indian Brand Farms, Inc. v. Novartis
 7   Crop Prot. Inc., 617 F.3d 207, 222 (3d Cir. 2010) and Adams v. United States, 449 F. App’x 653,
 8   659 (9th Cir. 2011) to support their position. (See Plaintiffs’ Opposition (“Opp”) at 7–8).
 9             Plaintiffs’ reliance on the language from these cases is misplaced. While a jury instruction
10   may be sufficient to correct a “mere inconsistency” between “nominally equivalent” state and
11   federal labeling requirements, a jury instruction cannot avoid preemption when the state law
12   imposes requirements that are substantively different from or in addition to FIFRA’s
13   requirements. See Adams, 449 F. App’x at 659 (analyzing a warnings instruction to ensure that it
14   “sufficiently track[ed] FIFRA’s own requirements,” but only after determining that Plaintiffs’
15   failure-to-warn claims were not preempted by FIFRA).
16             Here, California law imposes on manufacturers significantly broader labeling requirements
17   related to foreseeable use than FIFRA. These are not merely inconsistent, nominally equivalent
18   requirements of the sort discussed in Indian Brand Farms and Bates. Rather, California law
19   substantively expands label warnings requirements from FIFRA’s “widespread and common uses”
20   to risks associated with any reasonably foreseeable use or misuse.           Accordingly, Plaintiffs’
21   warnings claims are expressly preempted by FIFRA.
22   II.       PLAINTIFFS DO NOT DISPUTE THAT IT IS IMPOSSIBLE FOR MONSANTO
               TO COMPLY WITH BOTH FIFRA AND THEIR TORT CLAIMS.
23

24             Plaintiffs do not contest that FIFRA, its regulations, and EPA guidance documents prohibit
25   Monsanto from independently making the design and label changes Plaintiffs seek without first
26   obtaining EPA’s approval. (Opp. at 8-18). Because Plaintiffs concede that Monsanto cannot
27   independently comply with both FIFRA and their tort claims, they do not contest the fundamental
28                                                      2
           MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
              CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
         Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 10 of 34



 1   basis of Monsanto’s impossibility preemption argument and instead argue that impossibility
 2   preemption is categorically inapplicable to FIFRA.1 A holding that impossibility preemption can
 3   never apply to FIFRA finds no support in the governing Supreme Court law and would turn the
 4   Supremacy Clause on its head.
 5            A.     Bates Does Not Make Impossibility Preemption Inapplicable to FIFRA.
 6            Plaintiffs, relying heavily on the flawed reasoning of Ansagay v. Dow Agrosciences LLC,
 7   153 F. Supp. 3d 1270, 1280 (D. Haw. 2015), claim that Bates rejected sub silentio the
 8   impossibility preemption analysis articulated years later in Wyeth, Mensing, and Bartlett. (Opp. at
 9   8-9).    Aside from being chronologically flawed, Plaintiffs’ arguments conflate Monsanto’s
10   “impossibility” preemption argument with the “field” preemption and “obstacle” preemption
11   arguments made in Bates.2
12            The Bates Court granted certiorari to resolve a circuit split over whether warning claims
13   “parallel” to FIFRA’s misbranding provisions were expressly preempted under § 136v(b). Bates
14   v. Dow Agrosciences LLC, 544 U.S. 431, 437 (2005). In addition to express preemption, Dow
15   argued field or obstacle preemption applied because parallel claims would disrupt FIFRA’s
16   uniform regulatory scheme. Id. at 447. The Court expressly rejected those arguments, but the
17   Court did not undertake any impossibility preemption analysis. Mutual Pharm. Co. v. Bartlett,
18
     1
19     Plaintiffs suggest that, in addition to their label claims, they will also be making non-label claims
     that Monsanto failed to warn about cancer risks in marketing materials they presumably read and
20   relied upon, which are not subject to preemption. (Opp. at 8, n.3). Plaintiffs failed to articulate
     with any specificity what non-label claims they relied upon. In any event, Monsanto cannot make
21   non-label claims that are inconsistent with the Roundup label. See 40 C.F.R. § 168.22. EPA has
     clearly indicated that advertising a pesticide in a manner inconsistent with its labeling is a
22   violation of FIFRA. Id.
     2
23     Express preemption occurs when Congress “withdraw[s] specified powers from the States by
     enacting a statute containing an express preemption provision.” Arizona v. United States, 567
24   U.S. 387, 399 (2012). Field preemption is a type of implied preemption where “[t]he intent to
     displace state law altogether can be inferred from a framework of regulation ‘so pervasive . . . that
25   Congress left no room for the States to supplement it’ or where there is a ‘federal interest . . . so
     dominant that the federal system will be assumed to preclude enforcement of state laws on the
26   same subject.’” Id. (citations omitted). Finally, obstacle preemption is another type of implied
     preemption that occurs not when compliance with both state law and federal law is impossible, but
27   rather when state law “stands as an obstacle to the accomplishment and execution of the full
     purposes and objectives of Congress.” Id. (citation omitted).
28                                                     3
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 11 of 34



 1   570 U.S. 472, 491 (2013) (explaining Bates as holding that “the design-defect claim in question
 2   was not a ‘requirement “for labeling or packaging”’ and thus fell outside the class of claims
 3   covered by the express pre-emption provision at issue in that case.”). Accordingly, Bates did not
 4   foreclose impossibility preemption under FIFRA.
 5          B.      Congressional Intent Is Not Relevant to Impossibility Preemption.
 6          Plaintiffs argue at length that impossibility preemption is inapplicable because § 136v(a) of
 7   FIFRA reserves states the right to “regulate the sale or use of any federally registered pesticide”
 8   and therefore FIFRA does not manifest congressional intent to preempt state law. (Opp. at 9-10).
 9   Congressional intent, however, is not the touchstone for impossibility preemption.
10          Unlike express, field, and obstacle preemption that turn on the intent or objectives of
11   Congress, Arizona, 567 U.S. at 399, impossibility preemption “requires no inquiry into
12   congressional design.” Florida Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142–43
13   (1963) (“A holding of federal exclusion of state law is inescapable and requires no inquiry into
14   congressional design where compliance with both federal and state regulations is a physical
15   impossibility for one engaged in interstate commerce.”) (citations omitted). Rather, impossibility
16   preemption flows from the Constitution’s Supremacy Clause and occurs anytime where
17   “compliance with both state and federal law is impossible.” Oneok, Inc. v. Learjet, Inc., 135 S. Ct.
18   1591, 1595 (2015) (citation omitted). Indeed, in the context of the Federal Food Drug and
19   Cosmetic Act (“FDCA”) at issue in Wyeth, Mensing, and Bartlett, Congress had adopted a
20   statement similar to § 136v(a) of FIRFA about preserving state law, but that provision did not
21   affect the impossibility preemption analysis. See Pub.L. No 87-781, 76 Stat. 780, 793 (1962)
22   (“Nothing in the amendments made by this Act to the Federal Food, Drug, and Cosmetic Act shall
23   be construed as invalidating any provision of State law which would be valid in the absence of
24   such amendments unless there is a direct and positive conflict between such amendments and such
25   provision of State law.”); see also Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 352
26   (2001) (“To the extent respondent posits that anything other than our ordinary pre-emption
27   principles apply under these circumstances, that contention must fail in light of our conclusion last
28                                                    4
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 12 of 34



 1   Term in Geier v. American Honda Motor Co., 529 U.S. 861 (2000), that neither an express pre-
 2   emption provision nor a saving clause ‘bar[s] the ordinary working of conflict pre-emption
 3   principles.’”). Accordingly, the absence of statutory language evincing a congressional intent to
 4   preempt state law has no bearing on impossibility preemption. Bartlett, 570 U.S. at 480 (“Even in
 5   the absence of an express pre-emption provision, the Court has found state law to be impliedly
 6   pre-empted where it is ‘impossible for a private party to comply with both state and federal
 7   requirements.’”).
 8          Plaintiffs’ effort to distinguish Bartlett and Mensing because the FDCA is not an identical
 9   regulatory scheme to FIFRA is beside the point. (Opp. at 11). That FIFRA allows states to ban
10   EPA-approved pesticides under § 136v(a) is immaterial to impossibility preemption; the FDCA
11   similarly allows FDA to withdraw approval of a drug, but that does not mean that a manufacturer
12   of drugs – or pesticides – can independently make the label and design for a marketed product
13   without regulatory approval. (Mot. at 9-11). FIFRA, like the FDCA, prohibits a manufacturer
14   from making certain product label and design changes without first obtaining agency approval.
15   Gustavsen v. Alcon Labs., Inc., 903 F.3d 1, 9 (1st Cir. 2018) (“If a private party . . . cannot comply
16   with state law without first obtaining the approval of a federal regulatory agency, then the
17   application of that law to that private party is preempted.”). Nor is it an answer to impossibility
18   preemption to say that a manufacturer can comply with state law by not selling the product. See
19   Bartlett, 570 U.S. at 488 (rejecting that a manufacturer can simply “stop-selling” a federally-
20   approved product in order to avoid liability under a state law requirement).
21          C.      Mensing and Bartlett Apply When a Private Party Cannot Comply with State
                    Law Without First Obtaining The Approval of a Federal Regulatory Agency.
22

23          Plaintiffs rely on a divided Third Circuit panel decision in Sikkelee v. Precision Airmotive
24   Corp., 907 F.3d 701, 714 (3d Cir. 2018) to argue that Wyeth’s “clear evidence” standard and not
25   Bartlett and Mensing’s “prior agency approval” standard applies. The Sikkelee majority, however,
26   improperly grafted Wyeth’s “clear evidence” standard onto an FAA reregulation that required
27   agency pre-approval. See Sikkelee, 907 F.3d at 718 (Roth, dissenting) (“Although the Majority
28                                                     5
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 13 of 34



 1   opinion cogently summarizes [Wyeth, Mensing, and Bartlett], it fails to consider their combined
 2   import.”). The majority ruling is not consistent with Wyeth, Mensing, or Bartlett for the reasons
 3   stated in the thoughtful dissent, nor is it consistent with the First Circuit’s unanimous 2018
 4   decision in Gustavsen, 903 F.3d at 9.
 5          Wyeth’s “clear evidence” standard arose in the context of FDCA’s “changes being
 6   effected” (“CBE”) regulation, 21 C.F.R. § 314.70(c), which authorized the drug maker to
 7   unilaterally add warnings to their drug label subject to FDA’s authority to rescind or modify the
 8   label change. Wyeth v. Levine, 555 U.S. 555, 568 (2009). Under that type of regulation, the Court
 9   required the defendant to show “clear evidence” that FDA would have rejected a proposed
10   warning submitted under that mechanism. Id. at 568–571. Bartlett and Mensing, however, apply
11   when the applicable regulation requires the manufacturer to seek regulatory approval prior to
12   making the label or design change.
13          The Sikkelee dissent found the distinction obvious when the cases are read as a trilogy:
14          “those decisions present a cohesive standard: when federal regulations prevent a
            manufacturer from altering its product without prior agency approval, design
15
            defect claims are preempted; when federal regulations allow a manufacturer to
16          independently alter its product without such prior approval, design defect claims
            ordinarily are not preempted.”
17

18   Sikkelee, 907 F.3d at 718; see also In re Celexa & Lexapro Mktg. & Sales Practices Litig., 779

19   F.3d 34, 41 (1st Cir. 2015) (“The line Wyeth and [Mensing] thus draw between changes that can be

20   independently made using the CBE regulation and changes that require prior FDA approval also

21   makes some pragmatic sense.”). One month before Sikkelee, the First Circuit observed that Wyeth,

22   Mensing, and Bartlett read in concert means that “[i]f a private party . . . cannot comply with state

23   law without first obtaining the approval of a federal regulatory agency, then the application of that

24   law to that private party is preempted.” Gustavsen, 903 F.3d at 9.

25          Plaintiffs, here, do not dispute that under FIFRA, its regulations, and EPA guidance

26   documents, Monsanto cannot amend its Roundup label to add a cancer warning to the

27   “Precautionary Statements” of the label or change the Roundup formulation without prior EPA

28                                                    6
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
         Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 14 of 34



 1   approval. (Mot. at 9-11). Accordingly, Wyeth’s “clear evidence” standard for impossibility
 2   preemption does not apply and Mensing and Bartlett should apply.
 3            D.      Even Under Wyeth’s Clear Evidence Standard Plaintiffs Failed to Controvert
                      Evidence that EPA Has Consistently Rejected That Glyphosate is
 4                    Carcinogenic to Humans.
 5            Monsanto submitted an overwhelming evidentiary record showing that EPA has repeatedly
 6   determined that glyphosate is not carcinogenic, including on at least five occasions since IARC’s
 7   classification. (Exs. 4-13, 15-20). Just a few weeks ago, for the sixth time since IARC’s
 8   classification, EPA reiterated that “it is confident” that “glyphosate is not likely to be
 9   carcinogenic” and that its conclusion is consistent with Canadian, European Union, German, and
10   Japanese regulators. (Stekloff Declaration filed herewith (“Stekloff Decl.”), 12/21/18 EPA Letter,
11   Ex. 25). EPA has also approved labels for glyphosate-based herbicides without cancer warnings
12   both before IARC’s classification34, as well as after learning of IARC’s position concerning
13   glyphosate as shown by EPA approval letters issued in October 2016 for Roundup Custom®
14   Herbicide5 and February 2018 for Roundup QuikPRO®.6 Plaintiffs do not dispute that EPA has
15   consistently rejected the proposition that glyphosate causes cancer in humans – the essential claim
16   in this litigation.
17            Plaintiffs instead contend that Monsanto’s failure to propose to EPA a cancer warning for
18   Roundup somehow precludes a finding of “clear evidence” that EPA would have rejected such a
19   proposed warning. But, as another California court recognized, “[Wyeth v.] Levine does not
20   premise clear evidence on manufacturer submission of a proposed warning to” EPA. Seufert v.
21   Merck Sharp & Dohme Corp., 187 F. Supp. 3d 1163, 1169 (S.D. Cal. 2016) (“The relevant inquiry
22   in each conflict preemption case since Levine is stated as whether the FDA would have rejected a
23   proposed labeling change, not whether the FDA did in fact issue an explicit rejection.”). A party
24
     3
         https://www3.epa.gov/pesticides/chem_search/ppls/000524-00517-20100125.pdf
25
     4
       https://www3.epa.gov/pesticides/chem_search/ppls/000524-00579-20090701.pdf
26   5
       https://www3.epa.gov/pesticides/chem_search/ppls/000524-00343-20161018.pdf
27   6
       https://www3.epa.gov/pesticides/chem_search/ppls/093236-00004-20180222.pdf
28                                                    7
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 15 of 34



 1   can also meet the “clear evidence” evidence standard by showing the regulatory agency disagrees
 2   that a warning is scientifically supportable. Id. at 1170.
 3          Courts have held that a regulatory agency’s repeated and consistent conclusion that a
 4   particular product does not pose a particular risk constitutes “clear evidence” that the regulatory
 5   agency would have rejected a proposed warning related to that risk. See id. at 1174 (“The FDA’s
 6   repeated conclusion that scientific data did not support warning of pancreatic cancer risk coupled
 7   with the FDA’s statement that product labeling was adequate amounts to clear evidence that the
 8   FDA would have rejected a pancreatic cancer labeling change.”); Dobbs v. Wyeth Pharm., 797 F.
 9   Supp. 2d 1264, 1276–77 (W.D. Okla. 2011) (the FDA’s “repeated conclusions . . . that there was
10   no scientific evidence to support a causal connection between [selective serotonin reuptake
11   inhibitors] and suicidality in adult patients” constituted “clear evidence that the FDA would have
12   rejected” an expanded warning for suicide). EPA’s repeated conclusions that glyphosate is not
13   carcinogenic therefore constitute “clear evidence” that EPA would have rejected a warning related
14   to carcinogenicity. Because Plaintiffs have not disputed this clear evidence, summary judgment is
15   appropriate. See id. at 1268, 1280 (granting summary judgment where the plaintiff did not
16   dispute the FDA’s repeated conclusions).
17   III.   PLAINTIFFS HAVE NOT COME FORWARD WITH EVIDENCE THAT IT WAS
            “GENERALLY ACCEPTED” IN THE SCIENTIFIC COMMUNITY AT THE
18          TIME OF DISTRIBUTION THAT GLYPHOSATE CAUSES CANCER .
19
            To prove a warnings claim under California law, Plaintiffs must show that it was “known
20
     or knowable in light of the scientific knowledge that was generally accepted in the scientific
21
     community at the time of distribution” that Roundup can cause cancer. CACI 1205 (emphasis
22
     added). To satisfy California law, that risk must be generally accepted – not merely a minority
23
     view.” Id., Directions for Use (“A risk may be ‘generally recognized’ as a view (knowledge)
24
     advanced by one body of scientific thought and experiment, but it may not be the ‘prevailing’ or
25
     ‘best’ scientific view; that is, it may be a minority view. The committee believes that when a risk
26
     is (1) generally recognized (2) as prevailing in the relevant scientific community, and (3)
27
28                                                     8
        MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
           CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 16 of 34



 1   represents the best scholarship available, it is sufficient to say that the risk is knowable in light of
 2   ‘the generally accepted’ scientific knowledge.”). Plaintiffs, who last used Roundup in 2014, failed
 3   to produce any evidence showing that it was “generally accepted in the scientific community” that
 4   Roundup caused cancer as of 2014. (Opp. at 19-20). Nor could Plaintiffs controvert Monsanto’s
 5   evidence showing the inverse—that it was “generally accepted” by EPA and other worldwide
 6   regulatory agencies that Roundup did not cause cancer in humans. (Mot. Exs. 4-13, 15-20, 25).
 7          Plaintiffs direct the court to a couple rodent studies from the 1980s that EPA ultimately
 8   concluded did not establish glyphosate was carcinogenetic, Dr. Parry’s reports from late the 1990s
 9   concerning potential genotoxicity of glyphosate, and a single epidemiology paper. (Opp. at 20).
10   As this court knows, however, this is a tiny fraction of the glyphosate science. (Mot. Ex. 12, EPA
11   OPP Report at 10 (“An extensive database exists for evaluating the carcinogenic potential of
12   glyphosate, including 63 epidemiological studies, 14 animal carcinogenicity studies, and nearly 90
13   genotoxicity studies.”)). Pointing to a few studies taken out of context cannot establish general
14   acceptance. EPA and other agencies have regularly reviewed the entire body of science related to
15   glyphosate and concluded again and again that glyphosate is not carcinogenic. (Mot. Exs. 4-13,
16   15-20, 25). Summary judgment is appropriate on Plaintiffs’ warnings claims because undisputed
17   facts show that “at the time of distribution” to Plaintiffs, Roundup’s supposed capacity to cause
18   cancer was not “known or knowable in light of the scientific knowledge that was generally
19   accepted in the scientific community.”
20   IV.    PLAINTIFFS’ PUNITIVE DAMAGE CLAIMS FAIL BECAUSE THEY DID NOT
            PRODUCE EVIDENCE OF “DESPICABLE” CONDUCT BY MONSANTO.
21

22          Plaintiffs cite the following evidence to support punitive damages: Monsanto’s response to
23   Dr. Parry’s genotoxicity review in early 2000s (Opp. at 23-24); Monsanto’s supposed
24   “ghostwriting” of Williams (2000), Williams (2012), Kier & Kirkland (2013), and Williams
25   (2016) (Opp. 25-27); Monsanto’s alleged failure to test surfactants (Opp. at 28); Monsanto’s
26   response to IARC’s classification in 2015 (Opp. 28-29); and Monsanto’s conduct related to an
27
28                                                      9
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
         Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 17 of 34



 1   ATSDR review of glyphosate in 2015.7 Because all reasonable factual inferences inure to the non-
 2   movant at summary judgment, Monsanto will not dispute in detail these purported “facts” now.
 3   But, as a threshold matter, Plaintiffs’ reliance on Monsanto’s conduct after they stopped using
 4   Roundup in 2014 is improper because due process requires punitive damages to be derived “from
 5   the acts upon which liability was premised.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538
 6   U.S. 408, 422–23 (2003). The remaining evidence, even when afforded all favorable inferences,8
 7   is not sufficient for a jury to find Monsanto acted “despicably,” especially when that evidence is
 8   weighed against a worldwide regulatory consensus that glyphosate is not carcinogenic and
 9   epidemiology showing no causal association.
10            A.     Monsanto Cannot Be Punished For Conduct That Could Not Have Caused
                     Plaintiffs’ NHL.
11

12            A punitive damage award cannot be premised on “conduct that bore no relation to the
13   [Plaintiffs’] harm” without violating federal due process. State Farm, 538 U.S. at 422–23 (“A
14   defendant’s dissimilar acts, independent from the acts upon which liability was premised, may not
15   serve as the basis for punitive damages.”); see also Willis v. Buffalo Pumps Inc., No. 12cv744
16   BTM (DHB), 2014 WL 1028437, at *5 (S.D. Cal. Mar. 17, 2014) (“Punitive damages are not
17   simply recoverable in the abstract. They must be tied to oppression, fraud or malice in the conduct
18   which gave rise to liability in the case.”). None of the of the evidence cited by Plaintiffs that
19   occurred after they stopped using Roundup in 2014—i.e., the Williams (2016) article, Monsanto’s
20   response to IARC’s classification, and the ATSDR review—could have caused Plaintiffs’ NHL
21   and, therefore, is not competent to oppose summary judgment on punitive damages.
22
     7
23     Plaintiffs also cite to trial testimony of a former Monsanto sales representative Kirk Azevedo.
     (Opp. 23). They omit, however, that the trial judge in Johnson granted a motion to strike that
24   testimony: “You know what, I’m going to grant the motion to strike the Azevedo testimony
     regarding the statement that . . . Monsanto is about making money ‘get it straight’ . . . as that
25   testimony is not relevant.” (Stekloff Decl., Johnson Tr. at 4934:13-20, Ex. 26). It certainly is not
     a basis to impose punitive damages.
     8
26     Notably, Plaintiffs’ punitive damages case is largely based on Dr. Parry’s review of genotoxicity
     papers and three articles concerning genotoxicity. Genotoxicity is type of mechanistic data that,
27   at most, is supplemental to more substantial epidemiology or toxicology evidence. In re Roundup
     Prods. Liab. Litig., No. 16-md-02741-VC, 2018 WL 3368534, at *17 (N.D. Cal. July 10, 2018).
28                                                   10
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 18 of 34



 1          B.      Monsanto’s Response to Dr. Parry’s Genotoxicity Review Was Not Improper,
                    Let Alone Despicable.
 2

 3          Plaintiffs claim Monsanto acted despicably by not volunteering Dr. Parry’s report about a

 4   handful of published genotoxicity papers to EPA. Plaintiffs further provide no evidence that

 5   Monsanto’s failure to share the Parry report altered EPA’s evaluation about glyphosate’s

 6   carcinogenicity. Every piece of evidence cuts against such an inference. Monsanto performed the

 7   tests recommended by Dr. Parry concerning genotoxicity and published the results in a 2008

 8   paper. (Mot. Ex. 21). Moreover, EPA has considered nearly 90 published genotoxicity studies for

 9   the active ingredient glyphosate, in addition to numerous epidemiology and toxicology studies

10   relating glyphosate, in reaching its unequivocal conclusion about glyphosate. (Mot. Ex. 12, EPA

11   OPP Report at 10). EPA reiterated just one month ago that it “is confident in its conclusion that

12   glyphosate is not likely to be carcinogenic to humans.” (12/21/18 EPA Letter, Ex. 25).

13          C.      Monsanto’s Involvement with Williams (2000), Williams (2012), and Kier &
                    Kirkland (2013) Was Not Improper, Let Alone Despicable.
14

15          Plaintiffs suggest Monsanto acted “despicably” in supposedly “ghostwriting” three

16   genotoxicity papers: Williams (2000), Williams (2012), and Kier & Kirkland (2013). (Opp. 25-

17   27). First, Plaintiffs do not claim there is anything false or misleading about the data or statements

18   contained in these articles. Nor is there any evidence that any of the data and statements in these

19   articles had any type of negative impact on Plaintiffs. And Monsanto cannot be punished for

20   participating in scientific debate about glyphosate. See Board of Trs. of Leland Stanford Jr. Univ.

21   v. Sullivan, 773 F. Supp. 472, 474 (D.D.C. 1991) (“It is . . . settled . . . that the First Amendment

22   protects scientific expression and debate . . . .” ); Senart v. Mobay Chem. Corp., 597 F. Supp. 502,

23   505-06 (D. Minn. 1984) (“[P]laintiffs assail defendants for taking a particular view in a scientific

24   debate and for trying to retain a regulatory standard which defendants preferred. Not only do these

25   actions not constitute torts, they are protected by the first amendment.”).

26          Second, these review articles transparently reflect Monsanto’s involvement, which means

27   they were not nefariously ghostwritten in any sense relevant to punitive damages. Williams (2000)

28                                                    11
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 19 of 34



 1   expressly acknowledges “[k]ey personnel at Monsanto who provided scientific support” including
 2   William F. Heydens and Donna R. Farmer (Mot. Ex. 22 at 2), and the Williams (2012) publication
 3   similarly acknowledges Monsanto “for funding and for providing its unpublished glyphosate and
 4   surfactant toxicity study reports.” (Stekloff Decl., Williams (2012), Ex. 27). Kier & Kirkland
 5   (2013) acknowledges “David Saltmiras (Monsanto Company),” among others, for his
 6   “contributions to this work by providing regulatory studies and [his] thoughtful review of the
 7   manuscript.” (Mot. Ex. 23 at 4). Even afforded all inferences, no jury can find that Monsanto’s
 8   participation in these three review articles “is so vile, base, [or] contemptible . . . that it would be
 9   looked down on and despised by ordinary decent people.” Mock v. Michigan Millers Mut. Ins. Co.,
10   4 Cal. App. 4th 306, 331 (1992).
11          D.      Monsanto’s Testing of Surfactants Was Not Improper, Let Alone Despicable.
12          Plaintiffs’ insinuation that Monsanto did not perform chronic carcinogenicity testing on the
13   surfactants used in Roundup is wrong. (Opp. at 28). Monsanto performed chronic carcinogenicity
14   tests on the surfactants used in Roundup and submitted those tests to EPA for approval. (Stekloff
15   Decl., Donna Farmer Dep. at 420, 429-430, Ex. 28). Monsanto simply did not perform chronic
16   carcinogenicity tests on the formulated Roundup product, nor did EPA require that testing.
17   Plaintiffs also fail to tie their allegations about a European regulator’s inquiry into tallow amine to
18   anything that is remotely related causally to Plaintiffs’ cancer. State Farm, 538 U.S. at 423 (“A
19   defendant should [only] be punished for the conduct that harmed the plaintiff . . . .”). Plaintiffs
20   produced no evidence they were even exposed to tallow amine, let alone evidence that suggests
21   any exposure increased their risk of NHL compared to other glyphosate-based herbicides.
22          E.      Monsanto Reasonably Relied on Worldwide Regulatory Consensus.
23          In contrast to the handful of cherry-picked papers and emails Plaintiffs rely on to support
24   punitive damages, Monsanto relied on the undisputed global regulatory consensus that glyphosate
25   is not a human carcinogen. (Mot. Exs. 4-13, 15-20). Relying on strong epidemiological evidence
26   and consistent regulatory approval of glyphosate is not “despicable” conduct; rather, it is
27   reasonable corporate conduct that merits dismissal of Plaintiffs’ punitive damages claims.
28                                                     12
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
         Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 20 of 34



 1            F.     Plaintiffs Failed to Produce Evidence Showing Monsanto’s Scientists Directed
                     Roundup Corporate Policy
 2

 3            Plaintiffs claim that Dr. Farmer (regulatory toxicologist), Dr. Heydens (senior regulatory

 4   toxicologist), and Daniel Jenkins (regulatory affairs manager) are “managing agents” that direct

 5   Monsanto corporate policy on Roundup. Plaintiffs produced no supporting evidence as is their

 6   burden on summary judgment. Rather, the evidence they produced shows that Dr. Farmer, Dr.

 7   Heydens, and Mr.       Jenkins were employees responsible for regulatory compliance and not

 8   managing agents who dictated corporate strategy.

 9   V.       GEBEYEHOU’S CLAIMS ARE INDISPUTABLY TIME BARRED.

10            Conceding that he suspected that Roundup was the cause of his NHL at least as early as

11   September 24, 2014, Gebeyehou argues that his case is nevertheless timely because he had no

12   scientific evidence to support his suspicions at that time and his doctor failed to respond to his

13   inquiry.9 But the standard is not whether he was aware of scientific evidence supporting a causal

14   link between Roundup and his NHL; rather, the law is clear that “[a] plaintiff need not be aware of

15   the specific ‘facts’ necessary to establish the claim; that is a process contemplated by pretrial

16   discovery. Once the plaintiff has a suspicion of wrongdoing, and therefore an incentive to sue, she

17   must decide whether to file suit or sit on her rights.” Jolly v. Eli Lilly & Co., 44 Cal. 3d 1103,

18   1111 (1988). Here, Gebeyehou indisputably chose the latter.

19            Gebeyehou fails to make the factual showing mandated by the California Supreme Court in

20   Fox v. Ethicon Endo-Surgery, Inc., which noted California’s “policy of charging plaintiffs with

21   presumptive knowledge of the wrongful cause of an injury,” to help effectuate the “general policy

22   encouraging plaintiffs to pursue their claims diligently.” 35 Cal. 4th 797, 808 (2005) (emphasis

23   added). Even at the more permissive pleadings stage, if a claim is facially time-barred, a plaintiff

24   “must specifically plead facts to show (1) the time and manner of discovery and (2) the inability to

25
     9
26     Gebeyehou contends that the two-year statute of limitations in Civ. Proc. Code section 340.8 is
     applicable here. Assuming, arguendo, that Section 340.8 does apply, Gebeyehou’s claims fail for
27   the same reasons outlined in the motion because Section 335.1 also provides for a two-year statute
     of limitations. (See also Opp. 50:8:10).
28                                                    13
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 21 of 34



 1   have made earlier discovery despite reasonable diligence.” Id. There are no such allegations in
 2   the Complaint and no such evidence in the Opposition.
 3          Gebeyehou claims that he conducted a “reasonable inquiry” because he sent the article
 4   describing a connection between Roundup and NHL to his doctor and his doctor rejected his
 5   suspicions. (Opp. at 51). But Gebeyehou admits that his doctor “did not respond to or address
 6   Mr. Gebeyehou’s comment about Roundup and NHL.” (Opp. at 52). Regardless of whether he
 7   exaggerated to his doctor that he was “95% certain” that Roundup caused his NHL, there is no
 8   dispute that Gebeyehou believed that Roundup caused or could have caused his NHL when he sent
 9   that e-mail on September 24, 2014. His failure to follow-up after his doctor did not respond only
10   further demonstrates that he failed to act diligently in pursuing his claims.
11          The uncontroverted evidence also shows that Gebeyehou believed Roundup caused his
12   NHL because he watched a Dr. Oz show describing the allegedly dangerous effects of the way he
13   used Roundup. (Mot. Ex 1, Gebeyehou Tr. 63:9-12, 55:23-56:1). Despite his clear deposition
14   testimony, Gebeyehou now contends that an episode that aired on September 22, 2014, did not
15   address a specific correlation between Roundup use and NHL. But it is well settled that a non-
16   movant cannot rely on a declaration that contradicts prior sworn testimony to defeat summary
17   judgment. Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th Cir. 1991). In any event,
18   whether the episode mentioned Roundup does not change the fact that Gebeyehou believed—after
19   watching a Dr. Oz show—that there was a direct correlation between Roundup and his NHL,
20   which was further confirmed with his internet research.
21          Plaintiff’s admissions are dispositive. In Gray v. Reeves, a plaintiff suffered an allergic
22   reaction to a drug in 1971, but delayed filing suit against the prescribing doctor and manufacturer
23   until 1973. 76 Cal. App. 3d 567 (1977). The court affirmed the summary judgment order for
24   defendants based on the statute of limitations noting plaintiff’s admission that in 1971 he knew
25   that defendants “did something wrong.” Id. at 577. The court found that even without specific
26   facts as to why the drug was defective, the plaintiff was on notice at that time that he had a
27
28                                                     14
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 22 of 34



 1   potential cause of action. Id. Here, Gebeyehou suspected more than just that Monsanto did
 2   something wrong; he was “95% sure that [his] cancer [was] caused by Roundup herbicide.”
 3            Gebeyehou relies on Clark v. Baxter Healthcare Corp., 83 Cal. App. 4th 1048 (2000), to
 4   assert that the discovery rule should apply because IARC had not classified glyphosate as a 2A
 5   carcinogen until March 20, 2015.10 But Clark is inapposite. There, the court found a disputed
 6   issue of fact because “[t]he record could support an inference that [the plaintiff] did not become
 7   aware of a potential wrongfulness component of her cause of action until more information than
 8   the existence of her allergies placed her on inquiry notice and then was actually gained.” Id. at
 9   1060. Here, no inference is necessary because Gebeyehou indisputably stated that Roundup
10   caused his NHL. Whether IARC had classified glyphosate as a 2A carcinogen does not bear on
11   whether Gebeyehou had knowledge of his claims.
12            Finally, Gebeyehou’s assertion that equitable tolling should apply due to Monsanto’s
13   purported fraudulent concealment should be rejected. Again, Gebeyehou explicitly stated in
14   writing more than two years prior to filing this complaint that he believed Roundup caused his
15   NHL. Monsanto’s actions have nothing to do with this analysis because Gebeyehou still had
16   knowledge of his claims. There are no disputed issues of fact, and the Court should enter
17   judgment in favor of Monsanto.
18   VI.      REPLY IN SUPPORT OF MOTION TO EXCLUDE DR. CHARLES BENBROOK.
19            The court in Johnson largely excluded Dr. Benbrook, holding that he did not possess the
20   requisite “familiarity with the EPA or Monsanto’s internal knowledge or regulatory compliance.”
21   (See Johnson Order at 30 (ECF 2417-3)). The vast majority of his opinions usurped the jury’s fact-
22   finder role and improperly opined on legal issues. Accordingly, the court limited Dr. Benbrook’s
23   testimony to only “the general framework of the EPA regulatory decision making process.”
24   Plaintiffs here simply make the same flawed arguments rejected in Johnson.
25
     10
26     Gebeyehou’s suggestion that he could not have “discovered” Roundup’s carcinogenicity until
     IARC announced its classification in March 2015 is entirely inconsistent with his positon that
27   Monsanto should have warned of cancer risks because it was “generally accepted in the scientific
     community” as of 2014.
28                                                  15
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 23 of 34



 1          A.      Dr. Benbrook Lacks the Necessary Qualifications.
 2          Dr. Benbrook is an economist who has never worked at any regulatory agency (including
 3   EPA) or any pesticide manufacturer. Plaintiffs claim his role as a “staff director” for a legislative
 4   subcommittee in the early 1980s qualifies him to testify. But Dr. Benbrook admitted that he had
 5   no direct responsibility for regulating pesticides in that decades-old legislative position. (See
 6   Benbrook Johnson Dep. at 85:9-11 (ECF 2417-4)). Plaintiffs also claim Dr. Benbrook is qualified
 7   because he runs a private consulting business and recently wrote an article on glyphosate. (Opp. at
 8   35). These recent endeavors do not substitute for Dr. Benbrook’s lack of relevant education,
 9   experience and expertise, and they certainly do not cloak him with the required experience and
10   expertise necessary to testify on complex scientific issues or to offer his opinions and
11   interpretations of Monsanto documents and corporate conduct. Like the court in Johnson, this
12   Court too should exercise its gatekeeping function and exclude Dr. Benbrook’s opinions for
13   failure to meet the threshold qualification requirement.
14          B.      Dr. Benbrook’s Personal “Interpretation” of Monsanto Documents and
                    Opinions on Corporate Ethics are Inappropriate Topics for Expert Testimony.
15

16          Plaintiffs cannot avoid the well-settled law that an expert is not permitted to opine
17   regarding the intent, motive, or state of mind of a corporation. While purporting to disclaim any
18   such intention, they nevertheless claim that Dr. Benbrook should be permitted to testify about
19   “factual matters that properly inform the jury’s own determination of motive, intent, or state of
20   mind.” (Opp. at 36 (emphasis removed)). This creative attempt to avoid the prohibition on expert
21   testimony about corporate intent is a distinction without a difference.
22          The vast majority of Dr. Benbrook’s proposed testimony as laid out in his report consists
23   of his narrations or “interpretations” about how various internal Monsanto documents purportedly
24   demonstrate Plaintiffs’ liability themes, usually by purporting to discern motives from his review
25   of documents: e.g., Monsanto valuing profits over safety, Monsanto ghostwriting review papers in
26   an effort to manipulate regulators, and Monsanto responding to new scientific developments with
27
28                                                    16
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 24 of 34



 1   the motive to preserve market share rather than to understand the science. (See Benbrook Rpt. at
 2   ¶¶ 16, 88, 105, 106 430 (ECF 2417-2)).
 3            These summaries of company documents are not “merely statements of fact in the record,”
 4   as Plaintiffs claim. (See Opp. at 37). They are slanted “interpretations” and fall squarely within
 5   the province of the jury as the fact-finder. Nor are they so “complicated” that they require
 6   explanation by an expert, and Plaintiffs do not offer a single example of a purported “complicated”
 7   document. (Id.). There is nothing so complicated about these documents—as opposed to other
 8   documents at issue in this trial—that require expert explanation. The jury is fully capable of
 9   reviewing the documents at issue, assessing them, and finding facts about them. That is, in fact,
10   the entire point of a jury trial, and juries routinely evaluate corporate documents to determine facts
11   without the aid of an expert. Plaintiffs point to nothing special, unusual, or complicated here that
12   makes these documents any different.11
13            Dr. Benbrook’s opinions on corporate ethics and whether Monsanto acted as a
14   “responsible” or “ethical” manufacturer should also be excluded. Not only are these opinions
15   inappropriate topics for expert testimony,12 but as an economist who has never been employed by
16   a pesticide manufacturer or the EPA, Dr. Benbrook does not possess the requisite qualifications to
17   offer opinions on the standard of care applicable to Monsanto. In this regard, his “opinions” are
18   nothing more than an attempt to instruct the jury on Monsanto’s legal duties—a function held by
19   this Court, not a partisan expert.
20

21

22

23
     11
24       Even if expert testimony were required to explain Monsanto’s corporate documents, Dr.
     Benbrook is not a properly qualified expert for that purpose, as he has never worked at any
25   pesticide manufacturer or at the EPA and has no specialized or relevant experience interpreting
     corporate documents of this type. See White v. Ford Motor Co., 312 F.3d 998, 1008-09 (9th Cir.
26   2002).
     12
        See, e.g., In re Bard IVC Filters Prods. Liab. Litig., No. MDL 15-02641-PHX DGC, 2018 WL
27   495187, at *3 (D. Ariz. Jan. 22, 2018) (“Personal views on proper corporate behavior are not
     appropriate expert opinions.”).
28                                                    17
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 25 of 34



 1          C.      Dr. Benbrook’s Opinions on Monsanto’s Compliance With Legal or
                    Regulatory Duties Usurp the Jury’s Function and Should Be Excluded.
 2

 3          Plaintiffs make clear that, if left unchecked, Dr. Benbrook intends to substitute his

 4   opinions for that of the jury and testify on the ultimate issues in this case, including “that

 5   Monsanto had a duty to warn consumers of the risk of NHL.” (See Opp. at 38-39). But testimony

 6   drawing legal conclusions central to a case—particularly by a witness who is not a legal expert—

 7   is routinely excluded. See, e.g., Lukov v. Schindler Elevator Corp., No. 5:11-cv-00201 EJD, 2012

 8   WL 2428251, at *2 (N.D. Cal. June 26, 2012) (excluding expert testimony on legal issue); United

 9   States v. Smith, 573 F.3d 639, 655 (8th Cir. 2009) (“[I]t is ‘the judge and not a witness’ that ‘is to

10   instruct the fact finder on the applicable principles of law.’”). Plaintiffs ignore this key fact-

11   finding function of the jury. See City of New York v. FedEx Ground Package Sys., Inc., No. 13

12   Civ. 9173 (ER), 2018 WL 4961455, at *4 (S.D.N.Y. Oct. 15, 2018) (excluding expert opinion

13   where expert “relied on the same types of evidence that a jury traditionally relies upon to answer

14   the sort of question that a jury traditionally answers.”). The jury can—and must—review the

15   evidence itself.

16          Plaintiffs’ counsel wants to use Dr. Benbrook as a conduit to put their own spin on

17   Monsanto’s documents and compliance with its legal obligations under the guise of “expert”

18   testimony. But the jury is fully capable of, and in fact is charged with, evaluating the evidence

19   and determining Monsanto’s compliance with legal obligations, and Dr. Benbrook lacks the

20   requisite qualifications in any event. His proffered expert testimony should be excluded.

21   VII.   REPLY IN SUPPORT OF MOTION TO EXCLUDE DR. WILLIAM SAWYER
22          A.      The Court Should Not Permit Dr. Sawyer To Testify In the Hardeman and
                    Gebeyehou Cases.
23

24          Plaintiffs all but concede that there is no basis for allowing Dr. Sawyer to testify in

25   Hardeman or Gebeyehou. There can be no debate that Plaintiffs proffered Dr. Sawyer as a

26   specific causation expert—the sole conclusion in his expert report is that “Mrs. Stevick’s exposure

27   to Roundup was a substantial factor that contributed to her development of NHL.” Sawyer Rep.

28                                                    18
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 26 of 34



 1   121. And it is undisputed that Dr. Sawyer has no specific causation conclusions regarding Mr.
 2   Hardeman or Mr. Gebeyehou. He did not interview either of them, review their medical records
 3   or deposition testimony, or conduct an analysis of their Roundup exposure. Outside of the cover
 4   page, his report does not mention Mr. Hardeman or Mr. Gebeyehou at all. And Dr. Sawyer
 5   admitted that he did no analysis of their cases because he did not have enough time. (Sawyer
 6   MDL Dep. Tr. 32:11-19 (ECF 2418-4)). In fact, he told Plaintiffs’ counsel that such an analysis
 7   was “not humanly possible in the time window that was presented, so all [he] could agree to was
 8   assessing the general toxicological factors that apply to anyone and apply to the other plaintiffs.
 9   There just wasn’t time to do a full analysis as [he] did on Ms. Stevick with respect to the other two
10   plaintiffs.” Id. at 32:13-19.
11         Plaintiffs’ only response ignores clear Ninth Circuit case law about what it means to
12   provide specific-causation testimony. Plaintiffs assert that Dr. Sawyer’s opinions “on issues
13   concerning the mechanism of absorption of glyphosate-based formulations through the skin and
14   other exposure pathways and the effect of wearing personal protective equipment on the exposure
15   levels . . . directly address[] critical issues relevant to specific causation.” Id. But as the Ninth
16   Circuit has made clear, specific or “‘individual causation’ refers to whether a particular individual
17   suffers from a particular ailment as a result of exposure to a substance.” In re Hanford Nuclear
18   Reservation Litig., 292 F.3d 1124, 1133 (9th Cir. 2002) (emphasis added). This determination is
19   highly individualistic, depending on the characteristics of the individual plaintiffs and the nature
20   of the plaintiffs’ exposure. Id. (citing In re Agent Orange Prod. Liab. Litig. MDL No. 381, 818
21   F.2d 145, 165 (2d Cir. 1987)). And Dr. Sawyer has acknowledged that his opinions regarding the
22   “toxicological mechanism effects of the glyphosate [sic] with respect to absorption, excretion, co-
23   formulates [sic] and contaminants,” (Opp. 41 n.45), do not meet this standard. He has confirmed
24   that these opinions are not specific to any plaintiff, and do not account for any plaintiff’s
25   individual characteristics and exposures. (See Sawyer MDL Dep. Tr. 194:2-7 (ECF 2418-4)). In
26   fact, in another case involving Roundup, Dr. Sawyer has actually admitted that these are general
27   causation opinions: “I’m going to explain the properties, the absorption, distribution, metabolism,
28                                                    19
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 27 of 34



 1   and the carcinogenicity aspects of glyphosate and Roundup super concentrate. Q. Okay. And so
 2   you only plan to offer a general causation opinion that it’s your opinion glyphosate-based
 3   herbicides can cause cancer, correct? A. Yes, but as I said a moment ago, relative to other
 4   potential carcinogens.” (Sawyer Hall Dep. Tr. 480:14-23 (ECF 2418-10)).13
 5           Plaintiffs’ effort to rebrand Dr. Sawyer as an “exposure” expert on their witness lists
 6   changes nothing. Again, the sole conclusion in Dr. Sawyer’s report is a specific causation opinion
 7   as to Mrs. Stevick. He had nothing to say about Mr. Hardeman or Mr. Gebeyehou’s exposure—
 8   nor did he attempt to analyze those issues in any way—and so any conclusions on those matters
 9   would be improper. See, e.g., Therasense, Inc. v. Becton, Dickinson & Co., No. C 04-02123
10   WHA, 2008 WL 2037732, at *4 (N.D. Cal. May 12, 2008) (referring to the “paramount rule that
11   all experts will be limited on direct examination to the four corners of their report”). Any
12   testimony he could offer would relate to general causation, not specific causation, and the time has
13   passed for new testimony in that area. See Stekloff Decl. Ex. 29, 12/5/18 MDL CMC Tr. 29:2-19;
14   In re Hanford, 292 F.3d at 1135 (“[W]here the distinction” between general and specific causation
15   “is made, it must be strictly observed.”).
16            B.     The Court Should Exclude Dr. Sawyer’s Specific-Cause Opinion As To Ms.
                     Stevick.
17

18            As Monsanto argued in its opening brief, Dr. Sawyer’s specific-cause opinion as to Ms.
19   Stevick is inadmissible because it relies upon an improper differential diagnosis, an
20   epidemiological analysis beyond Dr. Sawyer’s expertise, and an unreliable methodology.
21   Plaintiffs offer no convincing reason why that opinion meets Daubert’s “exacting standards,”
22   Weisgram v. Marley Co., 528 U.S. 440, 455 (2000). (See Opp. 41-45).
23           First, Plaintiffs wrongly insist that Dr. Sawyer utilized a proper differential diagnosis
24   method to reach his conclusions as to Ms. Stevick. (Opp. 41). But merely invoking the term
25   13
        Plaintiffs’ assertion that this testimony has been deemed “helpful” in other cases is misleading
26   at best. See Opp. 39-40 (citing Whitlock v. Pepsi Americas, 527 F. App’x 660 (9th Cir. 2013)). In
     Whitlock, Dr. Sawyer was proffered as an expert on both general and specific causation, and even
27   there, the Court observed that his “[s]haky but admissible” opinions should be attacked on cross
     examination. Id. at 661-62 (quoting Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010)).
28                                                   20
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 28 of 34



 1   “differential diagnosis” is insufficient to survive Daubert (and it bears repeating that Dr. Sawyer
 2   never used that term until his deposition). See McClain v. Metabolife Int’l, Inc., 401 F.3d 1233,
 3   1253 (11th Cir. 2005); Soldo v. Sandoz Pharm. Corp., 244 F. Supp. 2d 434, 551 (W.D. Pa. 2003).
 4   Nor does it suffice for Dr. Sawyer to “conduct[] a thorough review of Mrs. Stevick’s family
 5   history, age; prior work history; operational hazards; home hazards; alcohol, tobacco, and drug
 6   history; and medical history.” (Opp. 41). As the Court well knows, an expert conducting a
 7   differential diagnosis must “accurately diagnose the nature of the disease, reliably rule in the
 8   possible causes of it, and reliably rule out the rejected causes.” In re Aredia & Zometa Prods.
 9   Liab. Litig., 483 F. App’x 182, 188 (6th Cir. 2012). Here, Dr. Sawyer “ruled in” Roundup based
10   on his cherry-picked analysis of a handful of epidemiological studies purportedly showing that
11   Roundup exposure for more than two days increased NHL risk. See, e.g., Sawyer Rep. at 27-28
12   (ECF 2418-3); Sawyer MDL Dep. Tr. 42:2-43:11 (ECF 2418-4) (describing how exposure-day
13   threshold was derived from two epidemiological studies); 231:7-233:7 (confirming that his
14   specific-causation opinion is based primarily on Ms. Stevick’s exposure days). As Monsanto has
15   explained, that is not a valid basis for ruling in Roundup as a cause for a particular plaintiff. See
16   Lust ex rel. Lust v. Merrell Dow Pharm., Inc., 89 F.3d 594, 598 (9th Cir. 1996) (noting that
17   experts cannot pick and choose from the scientific landscape).
18         That is especially so because Dr. Sawyer lacks the expertise to assess the epidemiological
19   studies on which his purported “differential diagnosis” depends. See, e.g., Sawyer MDL Dep. Tr.
20   42:2-43:11; 231:7-233:7 (ECF 2418-4). In direct contradiction to Plaintiffs’ claim that Dr Sawyer
21   is qualified to utilize epidemiology in this manner, (Opp. 43), Dr. Sawyer himself has disclaimed
22   any epidemiological expertise. See, e.g., Sawyer MDL Dep. Tr. 199:11-20 (ECF 2418-4) (“Q
23   Yeah, but when I asked you what you were relying on to conclude that more likely than not Mrs.
24   Stevick’s cancer was not the result of an idiopathic cause, you referenced -- or you testified that
25   that’s based on the epidemiologic studies I’ve referenced, which included McDuffie 2001 and
26   Eriksson 2008. What other epidemiologic studies are you relying on to conclude that more likely
27
28                                                    21
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 29 of 34



 1   than not Mrs. Stevick’s cancer was not the result of an idiopathic cause? A I’m deferring that to
 2   the epidemiologists.).
 3         Nor did Dr. Sawyer reliably complete the second part of the differential diagnosis
 4   analysis—ruling out other potential causes of NHL. Plaintiffs quote Dr. Sawyer’s bald assertions
 5   that other chemicals and radiation could not have caused Ms. Stevick’s NHL. (See Opp. 42-43).
 6   But they do not, and cannot, dispute that Dr. Sawyer did not quantify Ms. Stevick’s exposure to
 7   these known NHL risk factors.       Compare Sawyer MDL Dep. Tr. 85:2-4 (agreeing ionizing
 8   radiation is a risk factor) and id. 87:14-17 (agreeing mecoprop is a risk factor), with id. 119:25-19
 9   (explaining that he did not quantify Ms. Stevick’s occupational exposure to ionizing radiation) and
10   id. 117:14-17 (explaining that he did not quantify her mecoprop exposure). And while Plaintiffs
11   obliquely mention that Dr. Sawyer “took into account” idiopathic causes, Dr. Sawyer himself
12   admitted that the “entire basis” for ruling out such causes was that Ms. Stevick cleared his
13   Roundup-exposure-day threshold. Sawyer MDL Dep. Tr. 198:15-199:25 (ECF 2418-4). That is
14   at best circular reasoning, and not a proper differential diagnosis. See Avila v. Willits Envtl.
15   Remediation Tr., 633 F.3d 828, 838 (9th Cir. 2011) (expert opinion inadmissible where expert
16   “simply assumed that causation existed without going through the steps in the differential
17   diagnosis process that his report said he would”). In the end, Dr. Sawyer offers the same “always-
18   Roundup” analysis as Plaintiffs’ other specific causation experts.
19         Second, with regard to Dr. Sawyer’s use of the UK Predictive Operator Exposure Model
20   (the “POEM”), Plaintiffs argue what is not in dispute: that the POEM is a “generally accepted
21   pesticide modeling technique” used internationally and by Monsanto. (Opp. 43-44). Plaintiffs
22   entirely dodge the question of the POEM’s applicability to Mrs. Stevick: They fail to explain how
23   using the regulatory POEM, which Dr. Sawyer admits systematically overestimates exposure,
24   Sawyer MDL Dep. Tr. 205:14-206:12 (ECF 2418-4), and is not calibrated for glyphosate, see
25   Sawyer Hall Dep. Tr. 437:7-11 (ECF 2418-10), is appropriate to estimate Ms. Stevick’s
26   residential glyphosate exposure. Likewise, Plaintiffs do nothing to justify Dr. Sawyer’s results-
27   driven selection of POEM inputs that are inconsistent with the published literature. See Sawyer
28                                                    22
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 30 of 34



 1   MDL Dep. Tr. 261:9-13 (ECF 2418-4) (“Are you able to name a dermal absorption study in
 2   human skin where the study authors themselves reported a dermal absorption value higher than 2
 3   percent? A No.”); Lust, 89 F.3d at 598. Because Dr. Sawyer’s analysis is the product of flawed
 4   scientific methods, it should be excluded.
 5            C.     The Court Should Exclude Dr. Sawyer’s Remaining Opinions, Which Exceed
                     His Expertise or Are Untimely.
 6

 7           The parties agree that Dr. Sawyer lacks expertise to opine as to Monsanto’s corporate
 8   intent. (See Opp. 45). Nor is there any basis for allowing Dr. Sawyer to interpret terminology
 9   used in corporate emails. Dr. Sawyer’s toxicological expertise affords him no special skill in
10   interpreting a Monsanto employee’s interpretation of a scientific term or study, and there is no
11   need for experts to interpret emails that speak for themselves.
12           Monsanto also believes, like Dr. Sawyer himself, that Dr. Sawyer is not qualified to opine
13   on Monsanto’s compliance with any ethical obligations—he removed any such opinions from his
14   report in this case.14 On this matter, Plaintiffs reliance on In re Seroquel Prods. Liab. Litig., No.
15   6:06-md-1769-Orl-22DAB, 2009 WL 3806436, at *4 (M.D. Fla. July 20, 2009) is misplaced.
16   (Opp. 45). Though the court in that case permitted an expert to testify regarding corporate
17   documents for a specific and limited purpose, id. at *4, it also held that an expert was not allowed
18   to “render any opinions regarding the state of mind, intent, motives or ethics of AstraZeneca or
19   any of its employees,” because such “matters are not the proper subject of expert opinion; they are
20   matters to be argued by counsel based on the evidence,” id. at *5.
21           Finally, there is no basis for allowing Dr. Sawyer to offer untimely rebuttal opinions.
22   Remarkably, rather than addressing Monsanto’s argument that these untimely opinions are
23   inadmissible, Plaintiffs in their opposition have offered yet another new opinion: Exhibit 74 to
24
     14
25      See, e.g., Opp. Ex. 74 ¶ 94 (“[I]f a Defendant communication contains a seeming ethical
     violation, it is my belief that the court and jury will make up their own minds about such
26   matters.”); Sawyer MDL Dep. Tr. 267:20-24 (ECF 2418-4) (“So if you go to page 72 of your
     Johnson report and page 97 of your Stevick report, you see on page 72 you have a whole
27   paragraph there where you discuss ethical quandaries? A Yeah. I removed that.”); Sawyer Hall
     Dep. Tr. 42:18-19 (ECF 2418-10) (“Q. Are you an ethicist? A. No.).
28                                                    23
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 31 of 34



 1   their opposition is a 32-page “rebuttal” declaration from Dr. Sawyer. (Opp. Ex. 74 at 3-5). But
 2   the solution for offering untimely rebuttal opinions is not more untimely rebuttal opinions. Dr.
 3   Sawyer should not be permitted to flout the court’s scheduling orders, as already has been his
 4   habit in this and other cases in this circuit. See Avila, 633 F.3d at 835-36 (affirming district
 5   court’s decision to strike Dr. Sawyer’s untimely declaration because the late opinions contained
 6   therein “could and should have been furnished by the deadline” (emphasis added)). Dr. Sawyer’s
 7   untimely rebuttal opinions, like all his opinions in this litigation, are improper, unreliable, and
 8   inadmissible.
 9   VIII. REPLY IN SUPPORT OF MOTION TO EXCLUDE MR. JAMES MILLS
10           Plaintiffs’ response regarding purported economic expert Mr. James Mills confirms exactly
11   why his exclusion is warranted. Plaintiffs seek to bolster Mr. Mills’ economic credentials, but the
12   relevant point under Daubert is Mr. Mills’ acknowledgement—time and again—that the
13   methodology he applied in the case required no economic training or knowledge, but simple
14   regurgitation of financial numbers from Monsanto’s public filings. E.g., Mot. to Exclude Mills,
15   Ex. 2, at 33:13-19 (“Q. You did not do any analysis to reach these [net sales] numbers, right? A.
16   Correct. They’re taken as reported. Q. And no economic training was required to find these [net
17   sales] numbers in Monsanto’s financial reports? A. No. They are published and printed there.”).
18   Courts have repeatedly excluded experts that engage in such rudimentary, copy-paste analysis.
19   See Israel Travel Advisory Serv., Inc. v. Israel Identity Tours, Inc., No. 92 C 2379, 1993 WL
20   387346, at *2 (N.D. Ill. Sept. 23, 1993) (excluding testimony from CPA that did not rely on his
21   “training or experience,” but calculations that could be performed “by anyone with junior high
22   school mathematics.”); In re Prempro Prods. Liab. Litig., 554 F. Supp. 2d 871, 887 (E.D. Ark.
23   2008), aff’d in relevant part, 586 F.3d 547 (8th Cir. 2009) (“Having an expert witness simply
24   summarize a document (which is just as easily summarized by a jury) with a tilt favoring a
25   litigant, without more, does not amount to expert testimony.”). “Opinion given through the mouth
26   of an expert does not necessarily make it expert opinion.” Id. (emphasis in original); see also Mot.
27   at 4 (collecting cases).
28                                                   24
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 32 of 34



 1            Nor does it benefit Plaintiffs to argue that a defendant’s financial condition is relevant to
 2   the punitive damages inquiry. (Opp. at 47-48). Setting aside whether punitive damages are even
 3   available here, Mr. Mills has not performed any economic analysis that will assist the jury to
 4   understand the issue.15 That is what distinguishes this case from In re Yasmin, the main authority
 5   Plaintiffs cite. (Opp. at 48-49). There, the court permitted testimony from a financial expert who
 6   reviewed both public and private financial documents, undertook the conversion of all figures into
 7   U.S. currency, and applied “generally-accepted economic formulas” to arrive at a calculation of
 8   “total wealth,” a number that is not otherwise reported in financial documents. In re Yasmin &
 9   YAZ Mktg., Sales Practices & Prods. Liab. Litig., No. 3:09-md-02100-DRH-PMF, 2011 WL
10   6732819, at *7 & n.7 (S.D. Ill. Dec. 16, 2011). Mr. Mills, by contrast, did nothing of the sort—he
11   simply took numbers from public documents and transcribed them into his report. His testimony
12   accordingly should be excluded.
13                                              CONCLUSION
14            For the foregoing additional reasons, Monsanto respectfully requests that the Court grants
15   its motion to exclude opinion of non-causation experts Benbrook, Sawyer, and Mills and also
16   grant its motion for summary judgment pursuant to Rule 56 of the Federal Rules of Civil
17   Procedure and dismiss these cases in their entirety with prejudice.
18

19

20

21

22

23

24   15
        Plaintiffs’ argument that Mr. Mills’s testimony will assist the jury because he can provide
     “interpretation and analysis” of Monsanto’s “full financial condition,” Plfs.’ Opp. at 48, finds no
25   basis in Mr. Mills’ report, which does nothing more than list a series of financial figures. See, e.g.,
     Therasense, 2008 WL 2037732, at *4 (referring to the “paramount rule that all experts will be
26   limited on direct examination to the four corners of their report”).
27
28                                                     25
          MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
             CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 33 of 34



 1
     DATED: February 1, 2019                   Respectfully submitted,
 2
                                               /s/ Brian L. Stekloff___________
 3
                                               Brian L. Stekloff (pro hac vice)
 4                                             (bstekloff@wilkinsonwalsh.com)
                                               Rakesh Kilaru (pro hac vice)
 5                                             (rkilaru@wilkinsonwalsh.com)
                                               WILKINSON WALSH + ESKOVITZ LLP
 6                                             2001 M St. NW, 10th Floor
                                               Washington, DC 20036
 7                                             Tel: 202-847-4030
                                               Fax: 202-847-4005
 8
                                               Pamela Yates (CA Bar No. 137440)
 9                                             (Pamela.Yates@arnoldporter.com)
                                               ARNOLD & PORTER KAYE SCHOLER LLP
10
                                               777 South Figueroa St., 44th Floor
11                                             Los Angeles, CA 90017
                                               Tel: 213-243-4178
12                                             Fax: 213-243-4199
13                                             Eric G. Lasker (pro hac vice)
                                               (elasker@hollingsworthllp.com)
14
                                               HOLLINGSWORTH LLP
15                                             1350 I St. NW
                                               Washington, DC 20005
16                                             Tel: 202-898-5843
                                               Fax: 202-682-1639
17

18                                             Michael X. Imbroscio (pro hac vice)
                                               (mimbroscio@cov.com)
19                                             COVINGTON & BURLING LLP
                                               One City Center
20                                             850 10th St. NW
                                               Washington, DC 20001
21                                             Tel: 202-662-6000
22
                                               Attorneys for Defendant
23                                             MONSANTO COMPANY

24

25

26
27
28                                              26
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
      Case 3:16-md-02741-VC Document 2634 Filed 02/01/19 Page 34 of 34



 1                                   CERTIFICATE OF SERVICE
 2                 I HEREBY CERTIFY that on this 1st day of February 2019, a copy of the
 3   foregoing was served via electronic mail to opposing counsel.
 4

 5                                                 /s/ Brian L. Stekloff
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27
28                                                  27
       MONSANTO COMPANY’S REPLY ISO MOTION FOR SUMMARY JUDGMENT RE: TIER 1 PLAINTIFFS ON NON-
          CAUSATION GROUNDS & EXCLUSION OF DRS. BENBROOK, SAWYER, & MILLS - 3:16-md-2741-VC
